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                   UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

                                                       MASTER CASE NO.
IN RE GEORGIA SENATE BILL 202
                                                       1:21-mi-55555-JPB

UNITED STATES OF AMERICA,

             Plaintiff,
                                                       CIVIL ACTION NO.
      v.
                                                       1:21-cv-02575-JPB

THE STATE OF GEORGIA, et al.,

          Defendants.
SIXTH DISTRICT OF THE AFRICAN
METHODIST EPISCOPAL CHURCH, et al.,

             Plaintiffs,
                                                       CIVIL ACTION NO.
      v.
                                                       1:21-cv-01284-JPB

BRIAN KEMP, Governor of the State of
Georgia, in his official capacity, et al.,

             Defendants,
REPUBLICAN NATIONAL COMMITTEE,
et al.,
             Intervenor-Defendants.

                                      ORDER
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       This matter is before the Court on the United States’ Motion for Voluntary

Dismissal [Doc. 934]. Each named defendant either consents to the dismissal or

does not oppose it. [Doc. 934]; [Doc. 936]; [Doc. 937].1 For good cause shown,

the motion [Doc. 934] is GRANTED.

       IT IS HEREBY ORDERED that the United States’ claims in United States

v. Georgia, 1:21-cv-02575-JPB, Sixth District of the African Methodist Episcopal

Church v. Kemp, 1:21-cv-01284-JPB, and In re Georgia SB 202, No. 1:21-mi-

55555-JPB, are DISMISSED. The Clerk is DIRECTED to close United States v.

Georgia, 1:21-cv-02575-JPB.

       SO ORDERED this 4th day of April, 2025.




1
  On April 1, 2025, the United States notified the Court that the only defendant who
failed to provide its position on consent was the Fulton County Registration and Elections
Board (“Fulton County”). Pursuant to this Court’s April 1, 2025 Order, Fulton County
had until the close of business on April 3, 2025, to notify the Court of its position on the
Motion for Voluntary Dismissal. To date, Fulton County has not responded, and
therefore this Court finds that it does not oppose the motion.

                                             2
